         Case 1:17-cv-02989-AT Document 1394 Filed 06/06/22 Page 1 of 13




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

    DONNA CURLING, ET AL.,               )
                                         )
               Plaintiffs,               )
                                         )    Civil Action File No.
    v.                                   )    1:17-CV-02989-AT
                                         )
    BRAD RAFFENSPERGER, ET AL.,          )
                                         )
               Defendants.               )

FOX NEWS NETWORK’S REPLY MEMORANDUM IN SUPPORT OF ITS
 CONSENT MOTION TO LIFT STAY OF ITS MOTION TO INTERVENE
                 FOR LIMITED PURPOSE

         Fox News Network, LLC (“FNN”) files this reply in support of its Consent

Motion to Lift Stay of FNN’s Motion to Intervene for Limited Purpose, ECF No.

1382.1 FNN moved to intervene to obtain a copy of Dr. Halderman’s expert report

(“Report”). The Report is essential to FNN’s defense against Dominion’s billion-

dollar-plus defamation action pending in Delaware state court. The Special Master


1
  Plaintiffs take issue with FNN’s characterization of its “Consent Motion to Lift
Stay of its Motion to Intervene for Limited Purpose” as a consent motion because
Plaintiffs were not consulted prior to filing. See Pls.’ Resp. Br. at 1 n.1, ECF No.
1383. But any confusion caused by this characterization was dispelled by the second
sentence of the motion, which states that Dominion consented to the motion. FNN
made no representations as to Plaintiffs’ consent to this motion, nor would it make
sense to seek consent from Plaintiffs since Plaintiffs did not oppose FNN’s
underlying Motion to Intervene for Limited Purpose.
       Case 1:17-cv-02989-AT Document 1394 Filed 06/06/22 Page 2 of 13




in that case recognized in his May 6, 2022 order that FNN should have access to

Dominion’s copies of the redacted and unredacted Report subject to this Court’s

approval and consistent with any conditions this Court imposes. The deadline for

document production in the Delaware state court matter is July 31, 2022. Therefore,

it is critical that FNN have access to the Report as soon as possible. At every

opportunity, FNN has repeated its willingness and ability to comply with this Court’s

protective order related to the Report. It remains willing and able to do so.

      All parties, as well as Dominion and FNN, have represented to this Court that

the Report should be disclosed. However, Plaintiffs now argue, for the first time,

that FNN should only have access to the redacted Report if it is publicly released and

that FNN should not have access to the unredacted Report based on unsubstantiated

concerns that FNN will “misuse” the Report. See generally Pls.’ Resp. to FNN’s

Consent Mot. Regarding Obtaining an Unredacted Copy of Dr. Halderman Report,

ECF No. 1383 (“Pls.’ Resp. Br.”). As explained below, Plaintiffs’ arguments are

untimely and without merit. Accordingly, FNN respectfully requests that the Court

grant its motion and permit Dominion to produce the Report consistent with its

discovery obligations in the Delaware state court action.




                                          2
       Case 1:17-cv-02989-AT Document 1394 Filed 06/06/22 Page 3 of 13




                                   ARGUMENT

I.    PLAINTIFFS’ RESPONSE IS AN UNTIMELY ATTEMPT TO
      OPPOSE FNN’S INTERVENTION MOTION.

      Plaintiffs’ response is an untimely and improper attempt to litigate the merits

of FNN’s Motion to Intervene. Plaintiffs incorrectly argue that the questions raised

in FNN’s Motion to Lift Stay are (1) whether FNN should have access to the redacted

Report and (2) whether FNN should have access to the unredacted Report. See Pls.’

Resp. Br. at 4. FNN’s Motion to Lift Stay, however, is not about whether FNN

should receive the Report. Those issues were litigated in FNN’s underlying Motion

to Intervene, which Plaintiffs did not oppose. Delaware plaintiff Dominion is the

only party that timely opposed FNN’s Motion to Intervene, and Dominion has now

withdrawn that opposition. See U.S. Dominion, Inc.’s Not. of Withdrawal of Opp.

to FNN’s Mot. to Intervene for Limited Purpose, ECF No. 1393. Indeed, Dominion,

FNN, and the Special Master in the Delaware action are united in agreement that

FNN should receive the Report—which is in Dominion’s possession and subject to

discovery orders in the Delaware case pending this Court’s approval.

      Plaintiffs in this action failed to raise any issue with FNN’s Motion to

Intervene until now, nearly half a year out of time and after the parties and Court in

Delaware (through the Special Master) have made clear that FNN should have access

to the Report for the Delaware case. To the extent Plaintiffs wanted to challenge
                                          3
       Case 1:17-cv-02989-AT Document 1394 Filed 06/06/22 Page 4 of 13




whether it was appropriate for FNN to receive the Report, their time to do so expired

on January 26, 2022, fourteen days after FNN filed its Motion to Intervene. See

N.D. Ga. L.R. 7.1. Plaintiffs failed to oppose the motion then and should not be

permitted to do so now after Dominion and FNN have expended significant time and

resources to resolve what was effectively a discovery dispute between Dominion and

FNN.

II.    PLAINTIFFS HAVE PROVIDED NO BASIS FOR DENYING FNN
       ACCESS TO THE REPORT.

       Plaintiffs’ out-of-time opposition to FNN receiving the Report is not only

improper as late, it is deeply flawed in substance. Plaintiffs argue that FNN should

not receive the Report because (A) FNN did not explain how the Report is relevant

to the Delaware action; (B) Dr. Halderman opined that releasing the Report “would

be dangerous”; (C) it is against the public interest to release the Report to FNN; and

(D) the unredacted Report poses a risk to voters and election outcomes. But all of

that is wrong and none of Plaintiffs’ arguments has any merit.

       A.    FNN Has Shown that the Report Is Relevant to the Delaware
             Action.

       Plaintiffs first argue that the Report is irrelevant to the Delaware case because

“it does not address past elections or the claims of election fraud involving the

November 2020 elections at issue between Dominion and FNN.” See Pls.’ Resp.


                                           4
       Case 1:17-cv-02989-AT Document 1394 Filed 06/06/22 Page 5 of 13




Br. at 5-6. That argument fails to acknowledge that Dominion, FNN, and the Special

Master all agree that FNN should have access to the Report for the preparation of

FNN’s defense in the Delaware case, and that the Report is discoverable in the

Delaware litigation. See Stip. & Order Regarding Prod. of Expert Report by Dr. J.

Alex Halderman, ECF No. 1382-1.

      Critically, Plaintiffs’ argument also ignores FNN’s clear and detailed

explanation of the Report’s relevance in its Memorandum in Support of Motion to

Intervene for Limited Purposes (which Plaintiffs did not oppose).2 See, e.g., Memo.

in Supp. of Mot. to Intervene for Limited Purposes at 5, 10–12, ECF No. 1251-1.

As previously explained, FNN’s defense in the Delaware litigation includes whether

exploitable vulnerabilities existed in Dominion’s voting machines during the 2020

election. See id. at 5. The Report speaks directly to this issue, and it need not address

fraud or the 2020 election specifically to have significant probative value in the

Delaware litigation. Indeed, Plaintiffs’ ongoing concern for the vulnerabilities

documented in the Report confirm that the Report contains evidence of

vulnerabilities that existed during the 2020 election and continue to exist today.




2
 That Plaintiffs are responding to arguments raised in FNN’s brief in support of its
Motion to Intervene underscores the fact that Plaintiffs’ response is actually an
untimely opposition to FNN’s Motion to Intervene.
                                           5
       Case 1:17-cv-02989-AT Document 1394 Filed 06/06/22 Page 6 of 13




      CISA’s recent advisory regarding Dominion’s voting systems, issued just

days ago, also confirms that the Report contains evidence of ongoing vulnerabilities

– not just vulnerabilities that existed in 2018 when the Report was written. See

CISA, ICS Adv. 22-154-01, Vulnerabilities Affecting Dominion Voting Systems

ImageCast         X        (June         3,       2022),        available        here:

https://www.cisa.gov/uscert/ics/advisories/icsa-22-154-01             (recommending

“election officials continue to take and further enhance defensive measures to reduce

the risk of exploitation of . . . vulnerabilities” in Dominion Voting Systems currently

in use).

      B.     There is No Evidence FNN Will Misuse the Report.

      Next, Plaintiffs argue that Dr. Halderman warned against providing

“Dominion with the complete report” because Dominion might have to produce the

Report “in [its] various ongoing defamation suits to anyone who might misuse it.”

Pls.’ Resp. Br. at 6. But Plaintiffs tellingly offer no evidence that FNN will misuse

the report. To the contrary, FNN has repeatedly pledged that it will comply with the

restrictions and conditions imposed by this Court, including treating the report as

attorney’s-eyes-only. Plaintiffs’ abstract concerns about potential misuse cannot be

the basis for denying FNN access to concrete materials discoverable in the Delaware

litigation, particularly in light of FNN’s commitment to complying with this Court’s


                                          6
        Case 1:17-cv-02989-AT Document 1394 Filed 06/06/22 Page 7 of 13




orders concerning the Report and the fact that the Delaware Court also has a

protective order in place that will govern the Report when produced by Dominion.

       C.        Disclosing the Report to FNN is Consistent with the Public Interest.

       Plaintiffs argue that disclosing the Report to FNN “would be against the public

interest” because the disclosure would be for FNN’s “own self-serving ends.” Pls.’

Resp. Br. at 6. But Plaintiffs never specify what “public interest” is at stake if FNN

is granted access to the Report or how exactly disclosure to FNN threatens that

interest. More to the point though, this argument, repeated elsewhere in Plaintiffs’

response, treats disclosure of the Report to FNN and the public as an “either/or.” It

is not. Disclosure of the Report to a third party for narrow use in a freestanding

litigation has no bearing on whether the Report is more broadly disclosed to the

public, or whether this Court changes the scope of its protective order with respect

to Plaintiffs.

       Moreover, allowing discovery to proceed unimpeded in the Delaware

litigation promotes the public interest in the truth-seeking function of discovery. As

this Court explained when applying the federal discovery rules, “the ascertainment

of as many facts as possible leads to the truth, the discovery of which is the object

of all legal investigation.” Camacho v. Nationwide Mut. Ins. Co., 287 F.RD. 688,

692 (N.D. Ga. 2012) (Totenberg, J.); see also First Coast Energy, L.L.P. v. Mid-


                                            7
       Case 1:17-cv-02989-AT Document 1394 Filed 06/06/22 Page 8 of 13




Continent Cas. Co., 286 F.R.D. 630, 632 (M.D. Fla. 2012) (“The overall purpose of

discovery under the Federal Rules is to require the disclosure of all relevant

information so that the ultimate resolution of disputed issues in any civil action may

be based on a full and accurate understanding of the true facts, and therefore embody

a fair and just result.”). Denying FNN access to the Report impedes its ability to

defend itself against the billion-dollar-plus claims asserted by Dominion in the

Delaware litigation.3 FNN’s access to the Report is therefore a key instrument for

discovering the truth and obtaining a “fair and just” result in that case.

Consequently, permitting FNN to access the Report does not conflict with the

“public interest” — it promotes it.

      D.     FNN’s Pledge to Comply with the Court’s Protective Order
             Precludes Any Security Risk Posed by Granting FNN Access to the
             Report.

      Finally, Plaintiffs argue that the redacted portions of the Report are

“especially sensitive” and that there is no “legitimate and compelling need” to

disclose the redacted information. As for the first point, the limited disclosure FNN



3
  Related to this point, Plaintiffs argue that FNN has not shown that it has a
“legitimate and compelling” need for the Report. Pls.’ Resp. Br. at 6. While
Plaintiffs offer no authority for what a “legitimate and compelling” need would be,
given the important First Amendment implications and significant dollar amounts at
stake in the Delaware litigation, it is hard to see how FNN’s need is not “legitimate
and compelling” under any interpretation of those terms.
                                          8
       Case 1:17-cv-02989-AT Document 1394 Filed 06/06/22 Page 9 of 13




seeks does not pose a security risk. FNN has assured this Court that it will treat the

Report as attorney’s-eyes-only and comply with any restrictions or conditions the

Court imposes. The Court has already authorized the distribution of the Report to a

number of professionals – Plaintiffs’ counsel, counsel for the State, CISA,

Dominion, and potentially other stakeholders – without issue. FNN’s request only

marginally expands the scope of disclosure to other professionals who have a strong

interest in ensuring compliance with the Court’s orders.

      As for Plaintiffs’ second point, the billion-dollar-plus liability coupled with

the important First Amendment considerations at stake in the Delaware action

constitute a “legitimate and compelling need.” The claims asserted against FNN

justify a full and complete disclosure of facts and information that FNN is entitled

to under Delaware’s discovery rules. Dominion, the Special Master, and FNN agree

that the unredacted Report would be subject to disclosure in the Delaware litigation

in the absence of this Court’s protective order. Furthermore, it would be improper

to allow Plaintiffs in this action to determine what information FNN needs to defend

itself in litigation that Plaintiffs are not involved in. The Court in the Delaware

action has spoken: FNN is entitled to the Report, if this Court will allow it.




                                          9
      Case 1:17-cv-02989-AT Document 1394 Filed 06/06/22 Page 10 of 13




                                  CONCLUSION

      For the foregoing reasons, FNN respectfully requests that the Court grant

FNN’s Motion to Lift Stay and permit it to access the Report consistent with the

terms of the Special Master’s stipulated order in the Delaware litigation. Once again,

FNN reiterates its commitment to comply with this Court’s confidentiality orders

and to take all necessary measures and precautions to maintain the confidentiality of

the Report.

      Respectfully submitted this 6th day of June, 2022.

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Case 1:17-cv-02989-AT Document 1394 Filed 06/06/22 Page 11 of 13




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                              11
       Case 1:17-cv-02989-AT Document 1394 Filed 06/06/22 Page 12 of 13




                      CERTIFICATE OF COMPLIANCE

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman and

a point-size of 14.

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                                       12
       Case 1:17-cv-02989-AT Document 1394 Filed 06/06/22 Page 13 of 13




                          CERTIFICATE OF SERVICE

      I hereby certify that on June 6, 2022 I electronically filed the forgoing Reply

in Support of FNN’s Consent Motion to Lift Stay of FNN’s Motion to Intervene

for Limited Purpose with the CM/ECF system which will automatically send

email notification of such filing to the attorneys of record.

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                                          13
